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Brammell, William, H

From:                                   Elliot Slosar <elliot@loevy.com>
Sent:                                   Wednesday, March 2, 2022 12:32 PM
To:                                     Brammell, William, H
Cc:                                     Julian Clark; Denny, Roy; Ervin, Peter F.; Peter J. Rosene; Andrew Garverich; Keith Bond;
                                        Joey Klausing; Pellino, Andrew, D; Wicker, Kent J.; Ed Monarch; Chris Gadansky; James
                                        McKiernan; Larry Simon; Amy Staples; Molly Campbell; Melinda Ek; NSB Hardin Case
                                        Team
Subject:                                Re: Clark/Hardin v. Louisville Metro Government, et al.: Memorialization of Meet and
                                        Confer on 2/14



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Of course.

On Wed, Mar 2, 2022 at 11:27 AM Brammell, William, H <bbrammell@dbllaw.com> wrote:

 Thanks, Julian. Is Plaintiff Clark’s team taking the same position?



 BB



 William H. Brammell, Jr.
 321 West Main Street Suite 2100
 Louisville, KY 40202
 Direct: (502) 630-1302
 General: (502) 572-2500 Fax: (502) 572-2503
 www.dbllaw.com / bbrammell@dbllaw.com




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From: Julian Clark <julian@nsbcivilrights.com>
Sent: Friday, February 25, 2022 5:12 PM
To: Denny, Roy <Roy.Denny@louisvilleky.gov>
Cc: Brammell, William, H <bbrammell@dbllaw.com>; Ervin, Peter F. <Peter.Ervin@louisvilleky.gov>; Peter J. Rosene
<prosene@mcbrayerfirm.com>; Andrew Garverich <agarverich@clblegal.com>; Keith Bond <rkbond@clblegal.com>;
Joey Klausing <klausingj@obtlaw.com>; Pellino, Andrew, D <apellino@dbllaw.com>; Wicker, Kent J.
<kwicker@dbllaw.com>; Ed Monarch <emonarch@mcbrayerfirm.com>; Chris Gadansky
<cgadansky@mcbrayerfirm.com>; James McKiernan <jmckiernan@mcbrayerfirm.com>; Larry Simon
<larrysimonlawoffice@gmail.com>; Amy Staples <amy@loevy.com>; Molly Campbell <campbell@loevy.com>; Melinda
Ek <melinda@loevy.com>; Elliot Slosar <elliot@loevy.com>; NSB Hardin Case Team
<hardincaseteam@nsbcivilrights.com>
Subject: Re: Clark/Hardin v. Louisville Metro Government, et al.: Memorialization of Meet and Confer on 2/14




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Counsel,



Plaintiff Hardin is not willing to remove witnesses designated as “unlikely to call” from his disclosures.



Thanks,

Julian




Julian Clark


Johnnie L. Cochran, Jr. Fellow


Neufeld Scheck & Brustin, LLP


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Pronouns: he/him/his




On Fri, Feb 25, 2022 at 11:16 AM Denny, Roy <Roy.Denny@louisvilleky.gov> wrote:

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Julian,



I would also like to clarify one matter specific to Metro and Metro defendants. We have no objection to Mike
O’Connell be added to your disclosures as he has been deposed. We do not concede in any way that his testimony is
relevant or admissible at trial. I realize this would be addressed down the road, but wanted to be clear on out stance.




Roy C. Denny

Assistant County Attorney

Office of Mike O'Connell – Jefferson County Attorney

(502) 574-8083

Jefferson County Attorney

First Trust Centre

200 S. Fifth Street, Suite 300N

Louisville, KY 40202

On Twitter: @JeffCoAttyKY

On Facebook: www.facebook.com/jcamikeoconnell



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From: Brammell, William, H <bbrammell@dbllaw.com>
Sent: Friday, February 25, 2022 10:36 AM
To: Julian Clark <julian@nsbcivilrights.com>; Ervin, Peter F. <Peter.Ervin@louisvilleky.gov>; Peter J. Rosene
<prosene@mcbrayerfirm.com>; Andrew Garverich <agarverich@clblegal.com>; Keith Bond <rkbond@clblegal.com>;
Joey Klausing <klausingj@obtlaw.com>; Pellino, Andrew, D <apellino@dbllaw.com>; Wicker, Kent J.
<kwicker@dbllaw.com>; Ed Monarch <emonarch@mcbrayerfirm.com>; Chris Gadansky
<cgadansky@mcbrayerfirm.com>; Denny, Roy <Roy.Denny@louisvilleky.gov>; James McKiernan
<jmckiernan@mcbrayerfirm.com>; Larry Simon <larrysimonlawoffice@gmail.com>; Amy Staples <amy@loevy.com>;
Molly Campbell <campbell@loevy.com>; Melinda Ek <melinda@loevy.com>; Elliot Slosar <elliot@loevy.com>
Cc: NSB Hardin Case Team <hardincaseteam@nsbcivilrights.com>
Subject: RE: Clark/Hardin v. Louisville Metro Government, et al.: Memorialization of Meet and Confer on 2/14




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Julian,



Thank you for the proposal to resolve this dispute. Defendants can agree in part. We will not object to your late
addition to initial disclosures of individuals who were deposed. We will also not object to the listed experts. We
cannot, however, agree to your addition of the other 31 witnesses who you have categorized as “unlikely to
call.” Please let us know if Plaintiffs are collectively willing to remove these witnesses from their disclosures. If not,
we will approach the Court and ask for a discovery conference to address the issue.



Please advise.



BB



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From: Julian Clark <julian@nsbcivilrights.com>
Sent: Friday, February 18, 2022 12:48 PM
To: Ervin, Peter F. <Peter.Ervin@louisvilleky.gov>; Brammell, William, H <bbrammell@dbllaw.com>; Peter J. Rosene
<prosene@mcbrayerfirm.com>; Andrew Garverich <agarverich@clblegal.com>; Keith Bond <rkbond@clblegal.com>;
Joey Klausing <klausingj@obtlaw.com>; Pellino, Andrew, D <apellino@dbllaw.com>; Wicker, Kent J.
<kwicker@dbllaw.com>; Ed Monarch <emonarch@mcbrayerfirm.com>; Chris Gadansky
<cgadansky@mcbrayerfirm.com>; Denny, Roy <Roy.Denny@louisvilleky.gov>; James McKiernan
<jmckiernan@mcbrayerfirm.com>; Larry Simon <larrysimonlawoffice@gmail.com>; Amy Staples <amy@loevy.com>;
Molly Campbell <campbell@loevy.com>; Melinda Ek <melinda@loevy.com>; Elliot Slosar <elliot@loevy.com>
Cc: NSB Hardin Case Team <hardincaseteam@nsbcivilrights.com>
Subject: Clark/Hardin v. Louisville Metro Government, et al.: Memorialization of Meet and Confer on 2/14




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recognize the sender and know the content is safe.

Counsel,


This email is to memorialize what was discussed during the meet and confer on Monday, 2/14. In an effort to
resolve the issue Defendants raised in regard to Plaintiffs' recently-served Rule 26 disclosures, Plaintiffs
offered to identify which witnesses were deposed in this case, which were experts, and which were disclosed
during discovery but Plaintiffs are unlikely to call (and listed only out an abundance of caution). Please see
the table below for that breakdown.

In the unlikely event that Plaintiffs decide to call at trial any of the witnesses who were disclosed during
discovery but Plaintiffs are unlikely to call, Plaintiffs agree to 1) consent to the post-discovery deposition of
that witness; and 2) not object as untimely Defendants raising issue with Plaintiffs' Rule 26 disclosures.



As for Ross and Bowie (witnesses from the West case whose statements were fabricated by Mark Handy), it
is Plaintiffs' position that Defendants are clearly aware of those witnesses as they've been discussed at
                                                                     5
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length in depositions that have been taken in this case and it is our understanding that Bill Brammell
attended the West hearing. Furthermore, Defendants already have Ross' testimony and Bowie's from prior
proceedings. Nevertheless, in the event they are called, we will consent to their post-discovery depositions.

Please accept this proposal as Plaintiffs' good faith effort to alleviate the concerns raised on Monday. As we
said, the inclusion of these witnesses in our latest disclosures was not an attempt to subvert Defendants'
ability to conduct discovery.

Thanks,
Julian




                              Witnesses                              Witnesses Disclosed During
       Witness                                     Experts
                              Deposed                                Discovery; Unlikely to Call
                                 Disclosed by Plaintiff Hardin
 Mike O’Connell                   X
 Gloria Dimick                                         X
 Skip Palenik                                          X
 Julius Clark                     X
 Jay Pierce                       X
 Jim Petit                                                                         X
 Joseph Carroll                                                                    X
 Robert White                                                                      X
 Barry Wilkerson                                                                   X
 Joe Richardson                                                                    X
 Vince Robison                                                                     X
 Donald Burbrink, Sr.                                                              X
 Kenton Smith                       X
 Dawn Katz                                                                         X
 Brett Johnson                                                                     X
 Keith Carpenter                                                                   X
 Keith Yarka                                                                       X
 Jeffrey Eden                                                                      X
 Vicki Budd                         X
 Michael Mattingly                  X
 Jimmer Dudley                                                                     X
 Percy Phillips                                                                    X
 John Gray                                                                         X
 Nicole Madison                                                                    X
 Pam Gibson                                                                        X
 Troy Brock                                                                        X
 Jay Lambert                                                                       X
 William Lee Broyles                                                               X
 Charles Broaddus                                                                  X
 Christopher Geter                                                                 X
 Larry Smalls                                                                      X
 Brede Timberlake                                                                  X
 Jonathan Whitesides                                                               X
          Disclosed by Plaintiff Clark (that were not also disclosed by Plaintiff Hardin)
 Donald Burbrink, Jr.               X

                                                                 6
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    Perry Ryan                            X (motion
                                          pending)
    David Williams                                                           X
    Stuart McCoy                                                             X
    Ashley Edwards                                                           X
    Jim Lesousky                                                             X
    Robert Ross
    Ruth Bowie
    Edward Monarch                                                           X
    Alma Jodie Cochran                    X (pending)
    Heather Livers
    Lawson
                                              X
    Linda Smith                                                              X




  Julian Clark


  Johnnie L. Cochran, Jr. Fellow


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